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   8                              IN THE UNITED STATES DISTRICT COURT
   9                               FOR THE EASTERN DISTRICT OF TEXAS
  10

  11
       EXXON MOBIL CORPORATION,                                1:25-cv-11
  12
                                                  Plaintiff, AFFIDAVIT OF LAUREN BLANCHARD
  13                                                         IN SUPPORT OF DEFENDANT
                       v.                                    ATTORNEY GENERAL ROB BONTA’S
  14                                                         MOTION TO DISMISS
  15   ROBERT ANDRES BONTA A.K.A. ROB                          Judge:        Hon. Michael Truncale
       BONTA, IN HIS INDIVIDUAL                                Action Filed: 1/06/2025
  16   CAPACITY, ET AL.,
  17                                          Defendants.
  18

  19         I, Lauren Blanchard, do affirm as follows:

  20         1.    I am currently the Scheduling Director at California’s Department of Justice. I have

  21   held this role since May 1, 2024. In this role, I am aware of Attorney General Bonta’s travel

  22   schedule. To the extent I was not already aware of Attorney General Bonta’s travel schedule on a

  23   given date in the below declaration, I investigated it by consulting the electronic copy of Attorney

  24   General Bonta’s schedule that my office maintains. This schedule shows Attorney General

  25   Bonta’s location on a given date. I rely on this database in the ordinary course of business.

  26         2.    Exhibit 1 to the Complaint is the transcript from an October 7, 2024 conversation

  27   between Attorney General Bonta and Valerie Volcovici of Reuters. This event was part of

  28   Reuters’ Sustainability Summit 2024, which took place in New York, NY.
                                                     1
        Affidavit of Lauren Blanchard in Support of Defendant Attorney General Rob Bonta’s Motion to Dismiss (1:25-cv-
                                                                                                                  11)
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          I            3.    Exhibit 2 to the Complaint is a social-media post dated October 7, 2024. On that
      2         date, Attorney General Bonta was in New York, NY, and later flew nonstop to San Francisco,
      3        CA.
      4                4.    Exhibit 3 to the Complaint is a social-media post dated October 7, 2024. On that
      5        date, Attorney General Bonta was in New York, NY, and later flew nonstop to San Francisco,
      6        CA.
      7               5.     Exhibit 4 to the Complaint is a social-media post dated September 24, 2024. On that
      8        date, Attorney General Bonta was in New York, NY.
      9               6.     Exhibit 5 to the Complaint is a social-media post dated October 25, 2024. On that
     IO        date, Attorney General Bonta was in London, UK.
 11                   7.     Exhibit 6 to the Complaint is an email sent by "Rob Bonta for Attorney General
 12            2026" on September 24, 2024. On that date, Attorney General Bonta was in New York, NY.
 13                   8.    Footnote 18 to the Complaint cites a YouTube video posted on California's
 14           Department of Justice's website on September 23, 2024. On that date, Attorney General Bonta
 15           was in New York, NY.
 16                  9.     Footnote 34 to the Complaint cites a video of an interview with CBS's local Los
 17           Angeles affiliate. The web page lists the interview date as September 16, 2023. On that date,

 18           Attorney General Bonta was in Cambria, CA.

 19                  10.    Footnote 34 to the Complaint cites a video of an interview with Reuters dated

20            September 23, 2024. The video takes place in New York, NY.

21                   11.    Footnote 34 to the Complaint cites a video of an interview with Reuters dated

22            October 7, 2024. The video takes place in New York, NY.

23                   12.    Footnote 40 to the Complaint cites a video of an interview with Squawk Box, a

24            CNBC program. The video takes place in New York, NY.

25                   I declare under penalty of perjury that the foregoing is true.

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27                                                                                                      Lauren Blanchard

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              Affidavit of Lauren Blanchard in Support of Defendant Attorney General Rob Bonta's Motion to Dismiss (l :25-cv-
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